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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
ALBERTO PATINO, et al. §
Plaintiffs, :
v. § Civil Action No. 4:14-cv-03241
CITY OF PASADENA, et al.
Defendants. :

STIPULATION OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(ii)

IT IS HEREBY STIPULATED AND AGREED by and between the parties and their
respective counsel in the above-captioned action that Plaintiffs Maria Carmen Mendoza, Gabriel
R. Barreto, and Maria Mari’s claims are voluntarily dismissed, with prejudice, against Defendant
City of Pasadena pursuant to the Federal Rules of Civil Procedure 41(a)(1(A)(ii). This dismissal
applies only to Maria Carmen Mendoza, Gabriel R. Barreto, and Maria Mari’s claims and not

those of any other Plaintiff.

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Nina Perales

Counsel for Plaintiffs

MEXICAN AMERICAN LEGAL DEFENSE
AND EDUCATIONAL FUND

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( AN . HA ' Ln Dated: _/ o/2/, [¢
C. Robert Heath "ff
Counsel for Defendants

BICKERSTAFF HEATH DELGADO

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CERTIFICATE OF SERVICE

The undersigned counsel hereby certifies that she has electronically submitted a true and

correct copy of the above and foregoing via the Court's electronic filing system on the Bl day of

October, 2017.

/s/ Nina Perales
Nina Perales

